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                                    APPENDIX A

    Administration for Children and Families
        o Assistant Secretary of Health and Human Services for Children and Families
        o Deputy Assistant Secretaries of Health and Human Services for Children and
           Families
    Administration for Strategic Preparedness and Response
        o Assistant Secretary for Preparedness and Response
        o Principal Deputy Assistant Secretary for Preparedness and Response
    Administrative Conference of the United States
        o Chairman of the Administrative Conference of the United States
        o Council Members of the Administrative Conference of the United States
    Advisory Council on Historic Preservation
        o Chairman of the Advisory Council on Historic Preservation
        o Members of the Advisory Council on Historic Preservation
    American National Red Cross
        o Chairman of the Board of the American National Red Cross
        o President and Chief Executive Officer of the American National Red Cross
    AmeriCorps
        o Agency Head of AmeriCorps
        o Chair of the Board of Directors of AmeriCorps
    Appalachian Regional Commission
        o Federal Co-Chair of the Appalachian Regional Commission
        o Executive Director of the Appalachian Regional Commission
    Bonneville Power Administration
        o Administrator and Chief Executive Officer of the Bonneville Power
           Administration
        o Chief Operating Officer of the Bonneville Power Administration
    Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Deputy Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
    Bureau of the Census
        o Director of the Bureau of the Census
        o Deputy Director of the Bureau of the Census
    Bureau of Consumer Financial Protection
        o Director of the Bureau of Consumer Financial Protection
        o Deputy Director of the Bureau of Consumer Financial Protection
    Bureau of Economic Analysis
        o Director of the Bureau of Economic Analysis
        o Deputy Director of the Bureau of Economic Analysis
    Bureau of Indian Affairs
        o Assistant Secretary for Indian Affairs
        o Director of the Bureau of Indian Affairs
    Bureau of Industry and Security
        o Under Secretary of Commerce for Industry and Security
        o Deputy Under Secretary of Commerce for Industry and Security


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    Bureau of International Labor Affairs
        o Deputy Undersecretary of Labor for International Affairs
        o Associate Deputy Undersecretaries of Labor for International Affairs
    Bureau of Land Management
        o Director of the Bureau of Land Management
        o Deputy Director of the Bureau of Land Management
    Bureau of Ocean Energy Management
        o Director of the Bureau of Ocean Energy Management
        o Deputy Director of the Bureau of Ocean Energy Management
    Bureau of Reclamation
        o Commissioner of the Bureau of Reclamation
        o Deputy Commissioners of the Bureau of Reclamation
    Bureau of Safety and Environmental Enforcement
        o Director of the Bureau of Safety and Environmental Enforcement
        o Deputy Director of the Bureau of Safety and Environmental Enforcement
    Centers for Disease Control and Prevention
        o Director of the Centers for Disease Control and Prevention
        o Principal Deputy Director of the Centers for Disease Control and Prevention
    Centers for Medicare & Medicaid Services
        o Administrator of the Centers for Medicare & Medicaid Services
        o Deputy Administrator of the Centers for Medicare & Medicaid Services
    Central Intelligence Agency
        o Director of the Central Intelligence Agency
        o Deputy Director of the Central Intelligence Agency
    CHIPS Research and Development Office
        o Director of the CHIPS Research and Development Office
        o Deputy Director of the CHIPS Research and Development Office
    Commission of Fine Arts
        o Chair of the Commission of Fine Arts
        o Members of the Commission of Fine Arts
    Committee on Foreign Investment in the United States
        o Chairperson of the Committee on Foreign Investment in the United States
        o Members of the Committee on Foreign Investment in the United States
    Commodity Futures Trading Commission
        o Chairman of the Commodity Futures Trading Commission
        o Commissioners of the Commodity Futures Trading Commission
    Consumer Product Safety Commission
        o Chairman of the Consumer Product Safety Commission
        o Commissioners of the Consumer Product Safety Commission
    Corporation for National and Community Service
        o Chair of the Corporation for National and Community Service
        o Vice Chair of the Corporation for National and Community Service
    Council of the Inspectors General on Integrity and Efficiency
        o Executive Chair of the Council of the Inspectors General on Integrity and
            Efficiency
        o Chair of the Council of the Inspectors General on Integrity and Efficiency


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    Council on Environmental Quality
        o Chair of the Council on Environmental Quality
        o Members of the Council on Environmental Quality
    Court Services and Offender Supervision Agency for the District of Columbia
        o Director of the Court Services and Offender Supervision Agency for the District
            of Columbia
        o Associate Director of the Court Services and Offender Supervision Agency for
            the District of Columbia
    Defense Contract Audit Agency
        o Director of the Defense Contract Audit Agency
        o Deputy Director of the Defense Contract Audit Agency
    Defense Contract Management Agency
        o Director of the Defense Contract Management Agency
        o Deputy Director of the Defense Contract Management Agency
    Defense Intelligence Agency
        o Director of the Defense Intelligence Agency
        o Deputy Director of the Defense Intelligence Agency
    Defense Logistics Agency
        o Director of the Defense Logistics Agency
        o Vice Director of the Defense Logistics Agency
    Denali Commission
        o Federal Co-Chair of the Denali Commission
        o Commissioners of the Denali Commission
    Department of the Air Force
        o Secretary of the Air Force
        o Under Secretary of the Air Force
    Department of the Army
        o Secretary of the Army
        o Under Secretary of the Army
    Department of Commerce
        o Secretary of Commerce
        o Deputy Secretary of Commerce
    Department of Defense
        o Secretary of Defense
        o Deputy Secretary of Defense
    Department of Education
        o Secretary of Education
        o Deputy Secretary of Education
    Department of Energy
        o Secretary of Energy
        o Deputy Secretary of Energy
    Department of Health and Human Services
        o Secretary of Health and Human Services
        o Deputy Secretary of Health and Human Services




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    Department of Homeland Security
        o Secretary of Homeland Security
        o Deputy Secretary of Homeland Security
    Department of Housing and Urban Development
        o Secretary of Housing and Urban Development
        o Deputy Secretary of Housing and Urban Development
    Department of the Interior
        o Secretary of the Interior
        o Deputy Secretary of the Interior
    Department of Justice
        o Attorney General
        o Deputy Attorney General
    Department of Labor
        o Secretary of Labor
        o Deputy Secretary of Labor
    Department of the Navy
        o Secretary of the Navy
        o Under Secretary of the Navy
    Department of State
        o Secretary of State
        o Deputy Secretary of State
    Department of Toxic Substance Controls
        o Director of the Department of Toxic Substance Controls
        o Chief Deputy Director of the Department of Toxic Substance Controls
    Department of Transportation
        o Secretary of Transportation
        o Deputy Secretary of Transportation
    Department of the Treasury
        o Secretary of the Treasury
        o Deputy Secretary of the Treasury
    Department of Veterans Affairs
        o Secretary of Veterans Affairs
        o Deputy Secretary of Veterans Affairs
    Directorate of Defense Trade Controls
        o Deputy Assistant Secretary of the Directorate of Defense Trade Controls
        o Director of Compliance of the Office of Defense Trade Controls Compliance
        o Director of Licensing of the Office of Defense Trade Controls Licensing
        o Director of Management of the Office of Defense Trade Controls Management
        o Director of the Office of Defense Trade Controls Policy
    Drug Enforcement Administration
        o Administrator of the Drug Enforcement Administration
        o Deputy Administrator of the Drug Enforcement Administration
    Environmental Protection Agency
        o Administrator of the Environmental Protection Agency
        o Deputy Administrator of the Environmental Protection Agency



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    Equal Employment Opportunity Commission
        o Chair of the Equal Employment Opportunity Commission
        o Commissioners of the Equal Employment Opportunity Commission
    Executive Office of the President
        o White House Chief of Staff
        o White House Deputy Chief of Staff
    Executive Office for U.S. Trustees
        o Director of the U.S. Trustee Program
        o Principal Deputy Director of the U.S. Trustee Program
    Export-Import Bank of the United States
        o President and Chairman of the Export-Import Bank of the United States
        o First Vice President and Vice Chairman of the Export-Import Bank of the United
            States
    Farm Credit System Insurance Corporation
        o Chairman of the Board of the Farm Credit System Insurance Corporation
        o Members of the Board of the Farm Credit System Insurance Corporation
    Federal Aviation Administration
        o Administrator of the Federal Aviation Administration
        o Deputy Administrator of the Federal Aviation Administration
    Federal Bureau of Investigation
        o Director of the Federal Bureau of Investigation
        o Deputy Director of the Federal Bureau of Investigation
    Federal Bureau of Prisons
        o Director of the Federal Bureau of Prisons
        o Deputy Director of the Federal Bureau of Prisons
    Federal Communications Commission
        o Chairman of the Federal Communications Commission
        o Commissioners of the Federal Communications Commission
    Federal Deposit Insurance Corporation
        o Chairman of the Federal Deposit Insurance Corporation
        o Board Members of the Federal Deposit Insurance Corporation
    Federal Election Commission
        o Chair of the Federal Election Commission
        o Commissioners of the Federal Election Commission
    Federal Emergency Management Agency
        o Administrator of the Federal Emergency Management Agency
        o Deputy Administrator of the Federal Emergency Management Agency
    Federal Energy Regulatory Commission
        o Chairman of the Federal Energy Regulatory Commission
        o Commissioners of the Federal Energy Regulatory Commission
    Federal Highway Administration
        o Administrator of the Federal Highway Administration
        o Deputy Administrator of the Federal Highway Administration




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    Federal Home Loan Mortgage Corporation (Freddie Mac)
        o Chairman of the Federal Home Loan Mortgage Corporation
        o President and Chief Executive Officer of the Federal Home Loan Mortgage
            Corporation
    Federal Housing Finance Agency
        o Director of the Federal Housing Finance Agency
        o Deputy Directors of the Federal Housing Finance Agency
    Federal Labor Relations Authority
        o Chair of the Federal Labor Relations Authority
        o Board Members of the Federal Labor Relations Authority
    Federal Maritime Commission
        o Chairman of the Federal Maritime Commission
        o Commissioners of the Federal Maritime Commission
    Federal Mediation and Conciliation Service
        o Director of the Federal Mediation and Conciliation Service
        o Chief Operating Officer of the Federal Mediation and Conciliation Service
    Federal Mine Safety and Health Review Commission
        o Chair of the Federal Mine Safety and Health Review Commission
        o Commissioners of the Federal Mine Safety and Health Review Commission
    Federal National Mortgage Association (Fannie Mae)
        o Chairman of the Federal National Mortgage Association
        o President and Chief Executive Officer of the Federal National Mortgage
            Association
    Federal Permitting Improvement Steering Council
        o Executive Director of the Federal Permitting Improvement Steering Council
        o Deputy Executive Director of the Federal Permitting Improvement Steering
            Council
    Federal Railroad Administration
        o Administrator of the Federal Railroad Administration
        o Deputy Administrator of the Federal Railroad Administration
    Federal Reserve System
        o Chair of the Board of Governors of the Federal Reserve System
        o Governors of the Federal Reserve System
    Federal Retirement Thrift Investment Board
        o Chair of the Federal Retirement Thrift Investment Board
        o Executive Director of the Federal Retirement Thrift Investment Board
    Federal Trade Commission
        o Chairman of the Federal Trade Commission
        o Commissioners of the Federal Trade Commission
    Federal Transit Administration
        o Administrator of the Federal Transit Administration
        o Deputy Administrator of the Federal Transit Administration
    Financial Crimes Enforcement Network
        o Director of the Financial Crimes Enforcement Network
        o Deputy Director of the Financial Crimes Enforcement Network



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    Food and Drug Administration
         o Commissioner of Food and Drugs
         o Principal Deputy Commissioner of Food and Drugs
    General Services Administration
         o Administrator of the General Services Administration
         o Deputy Administrator of the General Services Administration
    Government Accountability Office
         o Comptroller General of the United States
         o Deputy Comptroller General of the United States
    Grid Deployment Office
         o Under Secretary of Energy for Infrastructure
         o Director of the Grid Deployment Office
         o Deputy Director for Grid Modernization of the Grid Deployment Office
         o Deputy Director for Resource Adequacy of the Grid Deployment Office
    Gulf Coast Ecosystem Restoration (RESTORE) Council
         o Chair of the Gulf Coast Ecosystem Restoration (RESTORE) Council
         o Members of the Gulf Coast Ecosystem Restoration (RESTORE) Council
    Health Resources and Services Administration
         o Administrator of the Health Resources and Services Administration
         o Deputy Administrator of the Health Resources and Services Administration
    Institute of Museums and Library Services
         o Director of the Institute of Museums and Library Services
         o Deputy Directors of the Institute of Museums and Library Services
    Inter-American Foundation
         o President and Chief Executive Officer of the Inter-American Foundation
         o Managing Director of the Inter-American Foundation
    Interior Business Center
         o Director of the Interior Business Center
         o Deputy Director of the Interior Business Center
    Internal Revenue Service
         o Commissioner of Internal Revenue
         o Deputy Commissioner of Internal Revenue
    International Trade Administration
         o Under Secretary of Commerce for International Trade
         o Deputy Under Secretary of Commerce for International Trade
    John F. Kennedy Memorial Center for the Performing Arts
         o Chairman of the Board of the John F. Kennedy Memorial Center for the
             Performing Arts
         o Executive Director of the John F. Kennedy Memorial Center for the Performing
             Arts
    Joint Chiefs of Staff
         o Chairman of the Joint Chiefs of Staff
         o Vice Chairman of the Joint Chiefs of Staff
    Loan Programs Office
         o Director of the Loan Programs Office
         o Deputy Director of the Loan Programs Office


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    Marine Mammal Commission
        o Chair of the Marine Mammal Commission
        o Commissioners of the Marine Mammal Commission
    Millennium Challenge Corporation
        o Chair of the Board of Directors of the Millennium Challenge Corporation
        o Chief Executive Officer of the Millennium Challenge Corporation
    National Aeronautics and Space Administration
        o Administrator of the National Aeronautics and Space Administration
        o Associate Administrator of the National Aeronautics and Space Administration
    National Archives and Records Administration
        o Archivist of the United States
        o Deputy Archivist of the United States
    National Board for Respiratory Care
        o President of the National Board for Respiratory Care
        o Vice President of the National Board for Respiratory Care
    National Capital Planning Commission
        o Chair of the National Capital Planning Commission
        o Executive Director of the National Capital Planning Commission
    National Council on Disability
        o Chair of the National Council on Disability
        o Vice Chair of the National Council on Disability
    National Counterterrorism Center
        o Director of the National Counterterrorism Center
        o Deputy Director of the National Counterterrorism Center
    National Endowment for the Arts
        o Chair of the National Endowment for the Arts
        o Senior Deputy Chair of the National Endowment for the Arts
    National Endowment for the Humanities
        o Council Chair of the National Endowment for the Humanities
        o Council Members of the National Endowment for the Humanities
    National Geospatial-Intelligence Agency
        o Director of the National Geospatial-Intelligence Agency
        o Deputy Director of the National Geospatial-Intelligence Agency
    National Indian Gaming Commission
        o Chairwoman of the National Indian Gaming Commission
        o Vice-Chair of the National Indian Gaming Commission
    National Institutes of Health
        o Director of the National Institutes of Health
        o Principal Deputy Director of the National Institutes of Health
    National Highway Traffic Safety Administration
        o Administrator of the National Highway Traffic Safety Administration
        o Deputy Administrator of the National Highway Traffic Safety Administration
    National Labor Relations Board
        o Chairman of the National Labor Relations Board
        o Members of the National Labor Relations Board



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    National Marine Fisheries Service
        o Assistant Administrator for Fisheries
        o Deputy Assistant Administrator for Fisheries
    National Mediation Board
        o Chair of the National Mediation Board
        o Members of the National Mediation Board
    National Nuclear Security Administration
        o Under Secretary of Energy for Nuclear Security and Administrator of the National
            Nuclear Security Administration
        o Principal Deputy Administrator of the National Nuclear Security Administration
    National Oceanic and Atmospheric Administration
        o Under Secretary of Commerce for Oceans and Atmosphere
        o Administrator of the National Oceanic and Atmospheric Administration
    National Park Service
        o Director of the National Park Service
        o Deputy Director of the National Park Service
    National Renewable Energy Laboratory
        o Director of the National Renewable Energy Laboratory
        o Deputy Director of the National Renewable Energy Laboratory
    National Science Foundation
        o Director of the National Science Foundation
        o Deputy Director of the National Science Foundation
    National Security Agency
        o Director of the National Security Agency
        o Deputy Director of the National Security Agency
    National Security Council
        o Vice President of the United States
        o Members of the National Security Council
    National Transportation Safety Board
        o Chair of the National Transportation Safety Board
        o Members of the National Transportation Safety Board
    Nuclear Regulatory Commission
        o Chair of the Nuclear Regulatory Commission
        o Commissioners of the Nuclear Regulatory Commission
    Occupational Safety and Health Administration
        o Assistant Secretary of Labor for Occupational Safety and Health
        o Deputy Assistant Secretaries of Labor for Occupational Safety and Health
    Occupational Safety and Health Review Commission
        o Chair of the Occupational Safety and Health Review Commission
        o Commissioners of the Occupational Safety and Health Review Commission
    Office of Clean Energy Demonstrations
        o Director of the Office of Clean Energy Demonstrations
        o Deputy Director of the Office of Clean Energy Demonstrations
    Office of the Comptroller of the Currency
        o Comptroller of the Currency
        o Senior Deputy Comptrollers of the Currency


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   Office of the Director of National Intelligence
       o Director of National Intelligence
       o Principal Deputy Director of National Intelligence
   Office of Federal Contract Compliance Programs
       o Director of the Office of Federal Contract Compliance Programs
       o Deputy Director of the Office of Federal Contract Compliance Programs
   Office of Foreign Assets Control
       o Director of the Office of Foreign Assets Control
       o Deputy Director of the Office of Foreign Assets Control
   Office of Government Ethics
       o Director of the Office of Government Ethics
       o Deputy Director for Compliance of the Office of Government Ethics
   Office of Homeland Security Situational Awareness
       o Director of the Office of Homeland Security Situational Awareness
       o Deputy Director of the Office of Homeland Security Situational Awareness
   Office of Management and Budget
       o Director of the Office of Management and Budget
       o Deputy Director of the Office of Management and Budget
   Office of National Drug Control Policy
       o Director of the Office of National Drug Control Policy
       o Deputy Director of the Office of National Drug Control Policy
   Office of Personnel Management
       o Director of the Office of Personnel Management
       o Deputy Director of the Office of Personnel Management
   Office of Science and Technology Policy
       o Director of the Office of Science and Technology Policy
       o Deputy Director of the Office of Science and Technology Policy
   Office of the Secretary of Defense
       o Secretary of Defense
       o Deputy Secretary of Defense
   Office of Special Counsel
       o Special Counsel
       o Principal Deputy Special Counsel
   Offices of the United States Attorneys
       o Director of the Executive Office for U.S. Attorneys
       o Deputy Director of the Executive Office for U.S. Attorneys
   Office of the United States Trade Representative
       o United States Trade Representative
       o Deputy United States Trade Representative
   Overseas Private Investment Corporation
       o President and Chief Executive Officer of the Overseas Private Investment
           Corporation
       o Executive Vice President of the Overseas Private Investment Corporation
   Patent Trial and Appeal Board
       o Director of the Patent Trial and Appeal Board
       o Deputy Director of the Patent Trial and Appeal Board


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   Peace Corps
        o Chief Executive Officer of the Peace Corps
        o Deputy Chief Executive Officer of the Peace Corps
   Pension Benefit Guaranty Corporation
        o Director of the Pension Benefit Guaranty Corporation
        o Deputy Director of the Pension Benefit Guaranty Corporation
   Permitting Council
        o Executive Director of the Permitting Council
        o Deputy Executive Director of the Permitting Council
   Presidio Trust
        o Chair of the Board of the Presidio Trust
        o Vice-Chair of the Board of the Presidio Trust
   Pretrial Services Agency for the District of Columbia
        o Director of the Pretrial Services Agency for the District of Columbia
        o Deputy Director of the Pretrial Services Agency for the District of Columbia
   Public Defender Service for the District of Columbia
        o Director of the Public Defender Service for the District of Columbia
        o Deputy Director of the Public Defender Service for the District of Columbia
   Rural Utilities Service
        o Administrator of the Rural Utilities Service
        o Assistant Administrator of the Rural Utilities Service
   Science and Technology Directorate
        o Under Secretary of Homeland Security for Science and Technology
        o Deputy Under Secretary of Homeland Security for Science and Technology
   Securities and Exchange Commission
        o Chairman of the Securities and Exchange Commission
        o Commissioners of the Securities and Exchange Commission
   Selective Service System
        o Director of the Selective Service System
        o Deputy Director of the Selective Service System
   Small Business Administration
        o Administrator of the Small Business Administration
        o Deputy Administrator of the Small Business Administration
   Smithsonian Institution
        o Secretary of the Smithsonian
        o Deputy Secretary and Chief Operation Officer of the Smithsonian
   Social Security Administration
        o Commissioner of the Social Security Administration
        o Deputy Commissioner of the Social Security Administration
   Surface Transportation Board
        o Chairman of the Surface Transportation Board
        o Members of the Surface Transportation Board
   Tennessee Valley Authority
        o Chair of the Board of the Tennessee Valley Authority
        o Members of the Board of the Tennessee Valley Authority



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   Trademark Trial and Appeal Board
       o Director of the Trademark Trial and Appeal Board
       o Deputy Director of the Trademark Trial and Appeal Board
   Transportation Security Administration
       o Administrator of the Transportation Security Administration
       o Deputy Administrator of the Transportation Security Administration
   U.S. Access Board
       o Chair of the U.S. Access Board
       o Members of the U.S. Access Board
   U.S. Agency for International Development
       o Administrator of the U.S. Agency for International Development
       o Deputy Administrators of the U.S. Agency for International Development
   U.S. Agency for Global Media
       o Chief Executive Officer of the U.S. Agency for Global Media
       o Chairman of the Board of the U.S. Agency for Global Media
   U.S. Army Corps of Engineers
       o Chief of Engineers and Commanding General of the U.S. Army Corps of
           Engineers
       o Deputy Commanding General of the U.S. Army Corps of Engineers
   U.S. Capitol Police
       o Chief of the U.S. Capitol Police
       o Assistant Chiefs of the U.S. Capitol Police
   U.S. Chemical Safety Board
       o Chairperson of the U.S. Chemical Safety Board
       o Members of the U.S. Chemical Safety Board
   U.S. Citizenship and Immigration Services
       o Director of U.S. Citizenship and Immigration Services
       o Deputy Director of U.S. Citizenship and Immigration Services
   U.S. Coast Guard
       o Commandant of the U.S. Coast Guard
       o Vice Commandant of the U.S. Coast Guard
   U.S. Commission on Civil Rights
       o Chairperson of the U.S. Commission on Civil Rights
       o Commissioners of the U.S. Commission on Civil Rights
   U.S. Commission for the Preservation of America’s Heritage Abroad
       o Chair of the U.S. Commission for the Preservation of America’s Heritage Abroad
       o Members of the U.S. Commission for the Preservation of America’s Heritage
           Abroad
   U.S. Copyright Office
       o Register of Copyrights and Director of the U.S. Copyright Office
       o Associate Register of Copyrights
   U.S. Court of Appeals for Veterans Claims
       o Chief Judge of the U.S. Court of Appeals for Veterans Claims
       o Judges of the U.S. Court of Appeals for Veterans Claims




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   U.S. Customs and Border Protection
       o Commissioner of U.S. Customs and Border Protection
       o Deputy Commissioner of U.S. Customs and Border Protection
   U.S. Department of Agriculture
       o Secretary of Agriculture
       o Deputy Secretary of Agriculture
   U.S. Department of Agriculture Rural Development
       o Under Secretary of Agriculture for Rural Development
       o Deputy Under Secretary of Agriculture for Rural Development
   U.S. Election Assistance Commission
       o Chairman of the U.S. Election Assistance Commission
       o Executive Director of the U.S. Election Assistance Commission
   U.S. Fish & Wildlife Service
       o Director of the U.S. Fish & Wildlife Service
       o Principal Deputy Director of the U.S. Fish & Wildlife Service
   U.S. Forest Service
       o Forest Service Chief
       o Associate Forest Service Chief
   U.S. Holocaust Memorial Museum
       o Director of the U.S. Holocaust Memorial Museum
       o Deputy Director of the U.S. Holocaust Memorial Museum
   U.S. Immigration and Customs Enforcement
       o Director of U.S. Immigration and Customs Enforcement
       o Deputy Director of U.S. Immigration and Customs Enforcement
   U.S. International Trade Commission
       o Chair of the U.S. International Trade Commission
       o Commissioners of the U.S. International Trade Commission
   U.S. Marshals Service
       o Director of the U.S. Marshals Service
       o Deputy Director of the U.S. Marshals Service
   U.S. Marine Corps
       o Commandant of the U.S. Marine Corps
       o Assistant Commandant of the U.S. Marine Corps
   U.S. Merit Systems Protection Board
       o Chairman of the U.S. Merit Systems Protection Board
       o Members of the U.S. Merit Systems Protection Board
   U.S. Nuclear Waste Technical Review Board
       o Chair of the U.S. Nuclear Waste Technical Review Board
       o Members of the U.S. Nuclear Waste Technical Review Board
   U.S. Patent & Trademark Office
       o Director of the U.S. Patent & Trademark Office
       o Deputy Director of the U.S. Patent & Trademark Office
   U.S. Postal Inspection Service
       o Chief Postal Inspector
       o Deputy Chief Postal Inspector



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   U.S. Postal Service
       o Postmaster General
       o Deputy Postmaster General
   U.S. Privacy and Civil Liberties Oversight Board
       o Chair of the U.S. Privacy and Civil Liberties Oversight Board
       o Members of the U.S. Privacy and Civil Liberties Oversight Board
   U.S. Railroad Retirement Board
       o Chairman of the U.S. Railroad Retirement Board
       o Members of the U.S. Railroad Retirement Board
   U.S. Secret Service
       o Director of the U.S. Secret Service
       o Deputy Director of the U.S. Secret Service
   U.S. Space Force
       o Secretary of the Air Force
       o Under Secretary of the Air Force
   U.S. Trade and Development Agency
       o Director of the U.S. Trade and Development Agency
       o Director of Policy and Program Management of the U.S. Trade and Development
           Agency
   Woodrow Wilson International Center for Scholars
       o Chairman of the Board of Trustees of the Woodrow Wilson International Center
           for Scholars
       o Members of the Board of Trustees of the Woodrow Wilson International Center
           for Scholars




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